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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOSE MONTANEZ,                         :   No. 3:22-cv-1267
                             Plaintiff :
                                       :   (Judge Mariani)
                   v.                  :
                                       :   Electronically Filed Document
PAULA PRICE, et al.,                   :
                           Defendants :

                                 ORDER

     AND NOW, this ______ day of _______________, 2023, upon consideration

of the Commonwealth Defendants’ Motion to Dismiss the Amended Complaint, it

is hereby ORDERED that the Motion is GRANTED. Plaintiff’s Amended

Complaint is hereby DISMISSED, with prejudice, as against the Commonwealth

Defendants.




                                  HONORABLE ROBERT D. MARIANI
                                  United States District Judge
